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 8                             UNITED STATES DISTRICT COURT
 9                       SOUTHERN DISTRICT OF CALIFORNIA
10    UNITED STATES OF AMERICA,              Case No. 20-CR-2670-BAS
11                Plaintiff,                 UNITED STATES’ RESPONSE AND
                                             OPPOSITION TO DEFENDANT’S
12          v.                               MOTION FOR NEW TRIAL AND
                                             REQUEST FOR EVIDENTIARY
13    ALFREDO BUENO VILLA,                   HEARING
14                Defendant.                 Date: March 28, 2022
15                                           Time: 2:45 PM

16                                               I
17                                     INTRODUCTION
18         The Court should deny the Motion for New Trial recently filed by Defendant,
19 Alfredo Bueno Villa, ECF No. 68, because he has not met his burden under Federal Rule
20 of Criminal Procedure 33 to warrant a new trial based on newly discovered evidence—his
21 brother’s confession of responsibility for the offense. Defendant has provided three
22 declarations in support of his Motion but the information contained in these declarations is
23 not “newly discovered” as required by Rule 33, nor is it sufficiently credible to overturn
24 the results of Defendant’s trial. Furthermore, Defendant fails to show that he could not
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 1 have discovered the evidence through due diligence. To the extent, Defendant raises issues
 2 of prior counsel’s performance to explain why the information was not discovered sooner,
 3 Defendant’s ineffective assistance of counsel claims are not properly brought in a motion
 4 under Rule 33. For these reasons, Defendant’s Motion for New Trial should be denied.
 5                                              II

 6                       STATEMENT OF THE CASE AND FACTS

 7         The Court is familiar with this fact pattern: on August 9, 2020, Defendant applied

 8 for entry into the United States through the Calexico, California East Port of Entry, as the
 9 driver and registered owner of a 2016 Ram 3500 truck. See Ex. 1 at 14, 16, 110 (Trial
10 Transcript). At the time Defendant drove the vehicle into the United States at the Port of

11 Entry, there were 172 packages containing 88 kgs (193.6lbs) of pure methamphetamine
12 and 3.63 kgs (7.986 lbs) of fentanyl pills concealed inside a speaker box in the bed of the
13 truck. Id. at 50, 58–59. Upon discovery of these drugs, Defendant was arrested and

14 subsequently indicted on two counts of importation of a controlled substance, in violation
15 of 21 U.S.C. §§ 952, 960. ECF No. 16.
16         The Parties proceeded to jury trial on July 21, 2021. ECF No. 49. On July 22, 2021,

17 the jury convicted Defendant on both counts. ECF No. 52. After trial, Defendant retained
18 present counsel and filed the instant Motion for New Trial. ECF Nos. 56, 68. In the Motion
19 for New Trial, Defendant asserts that his older brother, Javier, met with other family
20 members on December 6, 2021, and for the first time, confessed to planting the drugs in
21 Defendant’s trunk without Defendant’s knowledge or participation. ECF No. 68 at 2; ECF
22 No. 68-2 at 3. Defendant attaches declarations from Javier, his father, and another brother,
23 in support of the Motion. ECF No. 68-2.
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 1                                               III

 2                                    LEGAL STANDARD

 3         Upon a defendant’s motion, the court may vacate any judgment and grant a new trial

 4 if the interest of justice so requires, including on the grounds of newly discovered evidence.
 5 Fed. R. Crim. P. 33(a), (b)(1). In order to make out a motion for new trial based on newly
 6 discovered evidence, the defendant must show that:
 7         (1) the evidence is newly discovered; (2) the failure to discover the evidence
           sooner was not the result of lack of diligence; (3) the evidence is material to
 8         the issues at trial; and (4) the evidence is neither cumulative nor impeaching;
           and (5) the evidence indicates that a new trial would probably result in
 9         acquittal.
10 United States v. Sarno, 73 F.3d 1470, 1507 (9th Cir. 1995).

11         Newly available evidence does not constitute newly discovered evidence. United

12 States v. Lockett, 919 F.2d 585, 591 (9th Cir. 1990) (emphasis added); see also United
13 States v. Diggs, 649 F.2d 731, 740 (9th Cir. 1981), cert. denied, 451 U.S. 970 (1981),

14 overruled on other grounds (“When a defendant who has chosen not to testify subsequently
15 comes forward to offer testimony exculpating a co-defendant, the evidence is not ‘newly
16 discovered’”). Moreover, the trial judge has broad discretion to decide whether the alleged
17 new evidence is sufficiently credible to support a motion for new trial. Diggs, 649 F.2d at
18 740; see also United States v. Schoepflin, 442 F.2d 407 (9th Cir. 1971) (upholding denial
19 of motion for new trial based on alleged new evidence that prison inmates would testify
20 that the “true bank robber” had confessed, finding witnesses’ testimony to be “unworthy
21 of belief”).
22         Finally, the decision whether to hold a hearing on a motion for new trial is also

23 within the broad discretion of the trial judge. United States v. Alexander, 695 F.2d 398, 402
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 1 (9th Cir. 1982). “Although defendants are tireless in seeking new trials on the ground of
 2 newly discovered evidence, motions on this ground are not favored and are viewed with
 3 great caution.” Wright, Federal Practice and Procedure: Criminal 2d §557 (West 1982).
 4                                                       IV

 5                                                ARGUMENT

 6          Defendant’s Motion for New Trial does not meet the burden to warrant a new trial

 7 under Rule 33. Specifically, Defendant’s proffered “newly discovered evidence” does not
 8 meet the first two prongs of the five-factor test for a new trial, namely: (1) the evidence
 9 must be “newly discovered” and (2) the failure to discover the evidence sooner was not the
10 result of lack of diligence. Here, Javier’s admission is not “newly discovered” and even so,

11 the declarations are not sufficiently credible to warrant a new trial. Notwithstanding the
12 first factor, Defendant also cannot show that the failure to discover such evidence was not
13 from a lack of diligence, especially considering he obtained this information from his own

14 family members.
15 A.       Javier’s Admission Is Not Newly Discovered Evidence 1

16          Defendant seeks to present his older brother’s—Javier’s—admission as newly

17 discovered evidence when the caselaw is clear that such evidence is not newly discovered,
18
19
     1
       For the purposes of this section, the United States accepts for the sake of argument the statements in the
20   declarations attached to a Defendant’s Motion for New Trial to be true. However, the United States does
     not believe the declarations to be sufficiently credible. See Schoepflin, 442 F.2d 407. For example, Javier,
21   Defendant’s older brother, and Defendant’s father state that they are not fluent in English and relied on
     the third declarant, Sergio, Defendant’s younger brother, to translate the declarations for their signatures.
22   ECF 68-2 at 3, 9. Sergio’s declaration states that he fully and accurately translated the declarations from
     English to Spanish before they were signed by the other two. However, Sergio’s declaration does not
23   include any statement attesting to his own English fluency, or explain any training and experience to
     demonstrate his ability to reliably translate English to Spanish. Therefore, the Court should not find these
24   declarations sufficient evidence to warrant a new trial.
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 1 only newly available. This situation is analogous to the circumstances of United States v.
 2 Diggs, where a co-defendant’s exculpatory testimony is not “newly discovered” even
 3 though he had kept silent before. 649 F.2d at 740. Similarly, in United States v. Lockett,
 4 after being convicted at trial, the defendant provided an affidavit proffering exonerating
 5 information. 919 F.2d at 591. However, the Ninth Circuit declined to extend the “newly
 6 discovered” rule to “newly available” evidence and agreed that “a court must exercise great
 7 caution in considering evidence to be ‘newly discovered’ when it existed all along and was
 8 unavailable only because a co-defendant, since convicted, had availed himself of his
 9 privilege not to testify.” Id. (quoting United States v. Jacobs, 475 F.2d 270, 286 n.33 (2nd
10 Cir. 1973)).

11         This case is analogous to Diggs and Lockett in that Javier’s involvement in the

12 offense, if accepted to be true, existed all along. Javier states in his declaration, “Fearing
13 the consequences of my actions, I kept this information to myself after Alfredo’s arrest and

14 throughout his criminal proceedings.” ECF No. 68-2 at 3. Defendant argues there “is no
15 evidence to indicate that Javier’s scheme had been uncovered by anyone any earlier than
16 the December 6, 2021 meeting.” ECF No. 68 at 3. Based on this, Defendant concludes that
17 “Javier’s admission is clearly newly discovered.” Id. However, Defendant’s arguments
18 overlook the caselaw. Indeed, Defendant acknowledges that the information regarding
19 Javier’s scheme existed prior to December 6, 2021, but simply because Javier did not avail
20 himself to testify or accept responsibility until now does not render this information newly
21 discovered. This evidence is newly available and not eligible as newly discovered evidence
22 under Rule 33.
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 1         This case is also analogous to United States v. Kamel, 965 F.2d 484 (7th Cir. 1992).

 2 Although Kamel is not binding on this Court, the facts and the 7th Circuit’s reasoning are
 3 persuasive. In Kamel, the defendant, Kamel, was convicted related to a fire that destroyed
 4 his food and liquor store in Chicago. Id. at 485. Post-conviction, Kamel moved for a new
 5 trial, in part based on his brother’s alleged confession and acceptance of full responsibility
 6 for the fire. Id. at 490. The Kamel Court held that Kamel failed to meet the first requirement
 7 for a new trial because Kamel’s suspicions and actual knowledge of his brother’s
 8 involvement were established by the evidence in the record.
 9         Here, Defendant likely had at least suspicions of his brother’s culpability by the time

10 his trial began. During his testimony, Defendant stated that he took his truck to an audio

11 repair shop at the recommendation of Javier. Ex. 2 at 30–31 (Trial Transcript). Javier’s
12 declaration states that he specifically recommended an audio repair shop that he “knew
13 smuggled drugs in the vehicles they serviced.” ECF No. 68-2 at 2. Defendant knew that

14 drugs were ultimately found in the speaker box that the audio repair shop supposedly
15 serviced, and so logic follows that Defendant also knew that his brother was directly
16 connected to the fact that the audio repair shop concealed drugs in his car.
17         Because Javier’s involvement in and responsibility for the offense was apparent and

18 available as early as August 9, 2020, the date of Defendant’s arrest, the exculpatory
19 information in his declaration submitted on January 3, 2022, over five months after
20 Defendant’s conviction, cannot be qualified as “newly discovered evidence.”
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 1 B.      Defendant’s Cannot Show that the Failure to Discover this Evidence Was Not

 2         from Lack of Diligence

 3         Relatedly, Defendant cannot meet the second prong to show that he has acted

 4 diligently. As stated above, Defendant knew that his brother’s recommendation of audio
 5 repair shops ultimately led to his arrest for the importation of controlled substances on
 6 August 9, 2020. Yet Defendant does not state any attempts to confront Javier regarding his
 7 involvement in the offense.
 8         Again, Kamel is instructive on this point. Defendant Kamel “undertook little or no

 9 effort, prior to trial, to obtain the evidence” he later sought to offer in his defense in a
10 motion for a new trial. 965 F.2d at 493. “If there is possible evidence which would

11 exonerate a defendant, he may not simply ignore it, awaiting the outcome of the trial and
12 having the opportunity of using that evidence later for a second chance for acquittal.” Id.
13 The Kamel Court held that Kamel did not show the requisite due diligence to justify

14 granting the motion for new trial. Id.
15         In this case, the declarations from Defendant’s family noticeably do not mention any

16 efforts to contact Javier during the year between Defendant’s arrest and trial. Defendant
17 merely rests on his claim that Javier “concealed his scheme . . . by hiding in Mexico.” ECF
18 No. 68 at 3. To the contrary, Javier’s crossing history shows that he crossed from Mexico
19 into the United States 17 times between Defendant’s arrest and the first day of Defendant’s
20 trial. Ex. 3 (TECS Records). In fact, the declarations state that Javier now lives with their
21 parents in Yuma but do not clarify when he moved into their house or any measures Javier
22 took to avoid discussing Defendant’s case. See 68-2 at 2, 5, 8. It is also worth noting that
23 Defendant was on bond during the pre-trial phase of his case for nearly a year. Defendant
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 1 himself was available to communicate with his family members and assist his legal team
 2 to investigate possible theories of defense.
 3         Whereas Defendant conclusively alleges that he has acted with diligence, ECF No.

 4 68 at 3, he provides no evidence of diligence. Therefore, Defendant fails to meet the second
 5 factor to warrant a new trial.
 6 C.      Prior Counsel’s Performance Is Not a Factor Under Rule 33

 7         As to the diligence factor, Defendant focuses primarily on “prior counsel’s

 8 questionable actions during representation of Defendant.” ECF No. 68 at 4. It is clear from
 9 his arguments that Defendant is preoccupied in retrospect by the lack of diligence and
10 disorganization of his prior counsel. See id. at 4–5. Even though he argues the “newly

11 discovered evidence” could not have been discovered through due diligence, he
12 nonetheless relies heavily on allegations of misconduct by trial counsel. Compare id. at 4
13 (“The defendant has acted with diligence throughout this proceeding”) with id. at 5 (“the

14 issue of diligence warrants a discussion of prior counsel’s questionable actions during
15 representation of Defendant.”). Notwithstanding the contradictory nature of these
16 arguments, Defendant concludes that he was as diligent as could be given the questionable
17 representation by prior counsel.” Id. at 5. If Defendant actually intends to present an
18 ineffective assistance of counsel claim, the appropriate avenue is on direct appeal or in a
19 habeas petition under 28 U.S.C. § 2255. See Massaro v. United States, 538 U.S. 500, 504
20 (2003) (holding that an ineffective-assistance-of-counsel claim may be brought in a
21 collateral proceeding under § 2255, whether or not the petitioner could have raised the
22 claim on direct appeal). Rule 33 does not provide cause for a new trial based on counsel’s
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 1 performance; Defendant cannot properly move for a new trial under Rule 33 on such
 2 grounds.
 3 D.      The United States Does Not Oppose an Evidentiary Hearing

 4         Ultimately, this issue is within the Court’s broad discretion. Should the Court find

 5 that an evidentiary hearing is necessary in light of the Parties’ briefing, the United States
 6 would not oppose setting one, as long as Defendant’s proposed witnesses are willing to
 7 testify. In the event Defendant anticipates calling Javier to testify, Javier should be
 8 appointed counsel, or be advised to obtain counsel, to ensure that he is properly advised of
 9 his Fifth Amendment rights against self-incrimination.
10                                               V

11                                       CONCLUSION

12         For the foregoing reasons, the United States requests the Court deny Defendant’s

13 Motion for New Trial.

14 DATED: March 14, 2022                          Respectfully submitted,

15                                                RANDY S. GROSSMAN
                                                  United States Attorney
16
                                                  /s/ Jennifer E. McCollough
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                                                  Assistant United States Attorney
18
                                                  /s/ Amy B. Wang
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